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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 16-CR-20345-MOORE/MCALILEY


  UNITED STATES OF AMERICA,

  vs.

  JEFFREY JASON COOPER,
       a/k/a “Dr. Janardana Dasa,”
       a/k/a “Janardana,”
       a/k/a “Jay,”

        Defendant.
  ________________________________/

                                GOVERNMENT’S TRIAL BRIEF

         The United States hereby respectfully submits this Trial Brief to provide the Court with

  an overview of some of the evidence that the government expects to present in this case. In

  addition, this Trial Brief raises certain evidentiary and legal issues for the Court’s consideration

  in advance of trial. First, several statements contained in recorded calls or in Facebook messages

  with the defendant are admissible to either provide context for the defendant’s admissions, and

  as a statement of the declarant’s then-existing state of mind under Fed. R. Evid. 803(3). Second,

  evidence that the defendant operated an unlawful business enterprise involving prostitution both

  before and after the dates contained in Count 4 of the Indictment is admissible to show the

  continuous nature of the defendant’s unlawful enterprise. Finally, the government intends to

  impeach the defendant with a previous federal and state conviction, should he elect to testify in

  his own defense at trial.




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                                          BACKGROUND

         On May 4, 2016, the government charged the defendant by complaint with sex trafficking

  via fraud, in violation of 18 U.S.C. §§ 1591(a)(1) & (b)(1), and wire fraud, in violation of 18

  U.S.C. § 1343. See DE 3. The government arrested the defendant later that day, and he made

  his initial appearance on May 5, 2016. See DE 8. On May 10, 2016, a federal grand jury

  returned an indictment charging the defendant with: 1) three counts of wire fraud, in violation of

  18 U.S.C. § 1343; 2) the use of a facility in interstate or foreign commerce to promote an

  unlawful activity, and the performance thereafter of an act to promote the unlawful activity, in

  violation of 18 U.S.C. § 1952(a)(3)(A); 3) importation, and attempted importation, of aliens for

  prostitution or other immoral purposes, in violation of 8 U.S.C. § 1328; and 4) two counts of sex

  trafficking via fraud, and three counts of attempted sex trafficking via fraud, each in violation of

  18 U.S.C. §§ 1591(a)(1) and (b)(1). See DE 12.

         The indictment generally alleged that the defendant fraudulently recruited participants in

  the U.S. Department of State’s Summer Work Travel (“SWT”) program to come to the United

  States, where the defendant intended for the participants to perform commercial sex acts for his

  financial benefit. The SWT program provides foreign college and university students with the

  opportunity to live and work in the United States during their summer vacations. Foreign

  students who participate in the SWT program receive a J-1 visa authorizing them to temporarily

  enter, live, and work in the United States. The indictment also alleged that the defendant used

  facilities of interstate commerce to promote and manage his unlawful prostitution business

  enterprise, which existed for a number of years both before and after he fraudulently recruited

  SWT participants in the summer of 2011.




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         In the summer of 2011, Victim 1 was a 21-year-old university student, who had grown up

  in a Muslim family in Kazakhstan. Victim 1 previously traveled to the United States through the

  SWT program in the summer of 2010, had a positive experience working as a restaurant hostess,

  and wanted to participate in the SWT program again in the summer of 2011. Victim 2 was also a

  21-year-old university student in the summer of 2011, and had also grown up in a Muslim family

  in Kazakhstan. Victim 2 heard about the SWT program, and decided to participate in it with

  Victim 1, whom she knew from her university.

         Victim 1 knew Witness 1 because they had grown up together in the same town in

  Kazakhstan.       In 2011, Witness 1 worked at a travel agency in Kazakhstan that matched

  prospective SWT participants with host employers in the United States. Witness 1 had also

  previously participated in the SWT program during the summer of 2010. Witness 1 met the

  defendant during a chance encounter while she was visiting Miami prior to her return to

  Kazakhstan. While Witness 1 was at a café with a friend, the defendant approached her, and a

  conversation ensued in which the defendant told Witness 1 and her friend that he operated a yoga

  and wellness center. The defendant subsequently contacted Witness 1 through Facebook after

  she returned to Kazakhstan. Witness 1 subsequently informed the defendant she worked at a

  travel agency matching SWT participants with U.S. employers. The defendant suggested that

  Witness 1 send him secretaries and clerks to answer phones and make appointments at his yoga

  health centers.

         Witness 1 referred multiple female students to the defendant to work for him under the

  SWT program, including Victim 1 and Victim 2. Victim 1 and Victim 2 ultimately signed job

  contracts to work as receptionists for the defendant’s yoga and wellness company. The job




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  contract promised pay at $12 per hour, and stated that Victim 1 and Victim 2 would perform

  clerical duties for the company, such as answering phones and scheduling appointments.

         Victim 1 and Victim 2 arrived in Miami on or about May 30, 2011. Upon arrival, Victim

  1 and Victim 2 asked the defendant about the receptionist job they had agreed to perform in their

  job contract. At this time, the defendant revealed for the first time to Victim 1 and Victim 2 that

  their job involved providing “sensual” or “erotic” massages, which meant they were expected to

  manually masturbate clients to orgasm. Victim 1 and Victim 2 told the defendant they were

  unwilling to perform any kind of massages on men, as that had not been represented to be part of

  their job duties working for the defendant, and would moreover be contrary to their religious

  beliefs. Victim 1 and Victim 2 began looking for other employment, searching unsuccessfully

  for about a week. Witness 1 did not know that the defendant expected Victim 1 and Victim 2 to

  perform sensual massages on men; otherwise, she would not have referred anybody to work for

  the defendant to begin with. Neither Victim 1 nor Victim 2 wanted to perform sensual massages

  for the defendant, but they both eventually ran out of money and felt they had nowhere else to

  go.   Thus, Victim 1 and Victim 2 eventually began performing sensual massages for the

  defendant’s financial benefit.

         Victim 1 once told the defendant that she intended to report his illicit business activities

  to the police. The defendant told Victim 1 that he had many friends in the police department

  who already knew about his business. Victim 1 did not know whether the defendant was telling

  the truth or not because she was unfamiliar with police practices in the United States. In turn, the

  defendant threatened to tell the victims’ families and friends that the victims had performed

  sensual massages. This terrified Victim 1 and Victim 2, as they were ashamed of having

  performed the sensual massages. The defendant also told Victim 1 and Victim 2 that he had



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  many contacts in Kazakhstan through his Hare Krishna faith, and the victims believed that the

  defendant could contact these individuals to inform them of the massages that Victim 1 and

  Victim 2 performed. Victim 1 and Victim 2 did not want anybody in Kazakhstan finding out

  about the massages they performed given the shame they felt for performing them.

                                         DISCUSSION

  I.     Several Statements made during Recorded Calls or Contained in Facebook
         Messages with the Defendant are Admissible to Provide Context for the Defendant’s
         Statements, and to Show the Declarant’s Then-Existing State of Mind

         1.     Relevant Facts

         The defendant exchanged several messages via Facebook with Victim 1, Victim 2, and

  Witness 1. These exchanges occurred both before, during, and after Victim 1 and Victim 2

  worked for him. For example, the defendant exchanged the following relevant messages, among

  others, with Witness 1:

                ...

                [Defendant, September 27, 2010]: Never heard back from you?
                Give me a call if you are still in America. My number is: 786 859-
                6115. kiss kiss Dr. Jay

                ...

                [Witness 1, May 5, 2011]: Ok) I am very good, thank you. I am
                studying and working as Work and Travel coordinator. I send
                students to America

                ...

                [Defendant, May 5, 2011]: Wow! that's great. Maybe you can
                send me some pretty girls that want to work with my yoga health
                centers? I always need new workers. They will make good money,
                paid cash everyday they work. Let me know. You will make
                money as well for recommending them :)

                ...



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              [Witness 1, May 5, 2011]: I am attaching blank job offer form and
              the resumes of four excellent girls.. Could you complete the job
              offer for them as soon as possible, if you can today please. They
              have difficult situation, they have already gave the job offer from
              some employer, but that offer wasn't submitted by CCI (the
              sponsor of our program), because it was fake job offer. These
              students will be very grateful to you for this job offer. Because if
              they don't give another real job offer to our agency tomorrow, they
              will cancel a treaty and these students will not go to America and
              the agency will not return all paid money to them. Could you help
              them please, just complete this job offer for them and comfirm that
              you will hire them, when the manager from CCI will call you. I
              know that you are very kind person and you like to help people.
              You have big heart. And these girls will be the best workers for
              you, I promise. You will be glad to have such workers ;) Help
              them please and they will help you, when they come to miami. I
              will be looking forward to your reply.

              ...

              [Defendant, May 9, 2011]: . . . how do complete the application on
              facebook? Not very computer savy, maybe you can walk me
              through it? Thanks :). Or just have the agency call me, i know what
              to say. No worries :)

              [Witness 1, May 9, 2011]: Ok, I will say you what information I
              need and I will fill it uo by myself. I need company info (adress,
              number, fax) Job description (salary, hours to work, number of
              days, pay frequency, avertime aviability and info about uniform),
              the information about housing (is housing provided? if yes, the
              info about costs and address) if no, could you suggest some
              housing for them.

              ...

              [Defendant, May 9, 2011]: Janardana's Yoga and Wellness, S.A. ,
              7904 West Drive, unit 203, North Bay Village, Fl. 33141 . Phone:
              786 859-6115, Fax: 305 531-1070. Job description: performing
              clerical duties for the company, setting up appointments,
              answering phone calls, etc…hours: 8 hours a day, 6 days a week,
              $12 dollars per hour paid weekly. Possible overtime on certain
              days. Dress is casual, no uniform required. Housing is available in
              the same building, each lady will pay $70 dollars weekly to cover
              their lodging expense.

              ...

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              [Witness 1, May 9, 2011]: I looked at your web site. It is very
              nice! I like Yoga very much. I am going to yoga courses soon

              ...

              [Defendant, May 18, 2011]: Hey, sweety :). I spoke to the
              approval company here in U.S.A., very nice people. They
              approved your friends :) yea! Wonderful! Good news. Looking
              forward to meeting them and seeing you again ;). Do you have any
              other girls that want to come as well? Let me know? I'm friendly
              with 2 of the ladies at [Company A] now. If you know some other
              girls, submit the application to that agency ; it's easier to get them
              approved. kiss kiss :)

              ...

              [Witness 1, May 19, 2011]: I have two girls, they are looking for
              job offers too. They are asian. Do you want me to send their
              photoes?

              [Defendant, May 19, 2011]: Great! . . . Send me their photos, sure
              that sounds great! But, have them contact that same agency, they
              know me now and are friendly with me

              ...

              [Witness 1, May 19, 2011]: I have a question, will they all work as
              a receptionists?

              [Defendant, May 19, 2011]: Yes, mostly. Clerical work, computer
              work, setting up of appointments Sending out of emails to clients
              Send their resume and photo to my email, the one you have.
              paseba :)

              [Witness 1, May 19, 2011]: Ok) One of them [Victim 1] (with me
              in the pic) is my good friend. And [Victim 2] is her friend.

              ...

              [Defendant, May 19, 2011]: paseba, prikrasni :) They are beautiful,
              look forward to working with them ;)

              ...




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              [Witness 1, May 20, 2011]: Hi!! I have said them about you. And
              I gave them your phone number. [Victim 1] and [Victim 2] will
              call you, they'd like to talk to you. I am attaching their resumes.

              ...

              [Defendant, June 2, 2011]: [Witness 1], these first 2 girls you sent
              are not easy? Alot of problems with[Victim 1], not so great to
              work with and [Victim 2] doesn't speak any English "really"? But,
              she is at least a nice girl. Very humble and easy to deal with. I
              hope the other 4 girls coming are not going to be like this? We
              provide sensual massages to wealthy clients and the girls can make
              alot of money with not much effort. But, they need to cooperate
              and not be difficult. I have many beautiful ladies in Miami and L.A.
              that will love to wiork with us, so i don't need the extra
              aggravation? I only sponsored these ladies, so we all can make
              money and have a nice summer. But, if it's not going to work
              smoothly; then they should go elsewhere. . . .

              [Witness 1, June 2, 2011]: Hello. It was a surprise for everybody, I
              mean sensual massage, why you didn't say me earlier about it? . . .

              [Defendant, June 2, 2011]: I did mention it to you? Maybe you
              didn't understand? Check back on the chats we had on facebook,
              over a month ago. I said, i could use pretty girls to help with my
              yoga and wellness company, and that we offer massages to
              wealthy clients and they would make money. You also, assured me
              that if i sponsored the first 4 ladies,i would have no problems with
              them? You're exact words were ( if i help them, they would help
              me ;) ;) ) You don't remember that, sweety? I also mentioned
              aspects of my business when i met you in Miami last Sept.; and
              asked if you would like to join in, but you said you were on
              vacation already and didn't want to work anymore, but liked the
              concept. Think back, dear? Believe me, it was mentioned. No
              worries, they are getting the hang of it little by little. The other
              girls that work with us are showing them that it is not a big deal
              and it's a great way in this country to make good money in many
              cities.

              ...

              [Defendant, June 9, 2011]: Work it out [Witness 1]. Not cool? I
              helped you, and did my part and you promised me I would have no
              problems? Call them and fix it, thank you. Let them understand,
              we can figure out something for them to do. But, contacting



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              [Company A], was not good. It was unnecessary. Thanks, [Witness
              1] :) Jay

              ...

              [Defendant, June 10, 2011]: Thank you, [Witness 1]. I appreciate
              it. :) Just tell them everything will be okay, and just relax. The
              other two girls (workers) [Victim 1] and [Victim 2] are happy.
              They will have fun working with us, thanks :). Do you have a
              number for them in U.S. ? I'll give them a call.

              ...

              [Witness 1, August 1, 2011]: Hi! How are you doing? How are
              your workers [Victim 1] and [Victim 2]? Are they good?

              [Defendant, August 4, 2011]: Hey, darling! Kak dela? Yes,
              everything is going fine. They are very nice girls. You should send
              me more, the other 3 ladies never arrived?

              ...

              [Defendant, August 6, 2011]: Bad news, today. Your 2 friends
              took off, without warning and stole money, one of my cell , my
              keys and never paid for a damaged item in the apt they were
              staying in. You should get a hold of them and tell them if i don't
              get back my keys, phone, and the money they owe me; i will go to
              the police as well as the agency. I am not playing! . . .

              ...

              [Defendant, September 6, 2011]: Well, not really. Your girlfriend
              [Victim 1], still has our work phone and key fob and is reluctant to
              give it back? Why, i don't know? These were diffinately strange
              girls, not "my cup of tea" at all. Very weird and unpredictable. She
              contacted me and my secretary last week and promised to meet my
              secretary Jessica to drop off the items, but never followed through
              with the meeting that she arranged with her? This is the type of
              things we are talking about? That work phone has alot of numbers
              of our very good, personal clients. She is affecting our business! I
              will see to it that she or [Victim 2] never get visas again for this
              country. I have friends in high places, she's playing with the wrong
              person. I was nothing but nice to her and [Victim 2], i didn't
              deserve this silliness and wll not tolerate it. They also owe me and
              my wife Indu money, but that's not so important. The phone and
              key fob are! I have her banking information and can make things

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                difficult for her, i only want back my property. Talk to her, before
                things get worst. I'm giving her 2 days to return said items, then i
                will do what i need to do! Thank you.

                [Defendant, April 20, 2012]: Hey, there :). Long time, how are
                things? Are you coming back to The States in the near future?

                [Defendant, May 2, 2012]: [Witness 1], you're not friendly with
                me anymore? I never heard a response? How areyou?

         The defendant also exchanged the following messages with Victim 1:

                [Victim 1, May 21, 2011]: Hello! How are you? My name is
                [Victim 1]. I am going to USA this summer by Work and Travel
                Program. [Witness 1] told me about you and your organization, I
                liked it and I would like work with you. I will come to New York
                at 1th of June and then I will go to Florida. See you. Have a good
                time, thank you.

                [Defendant, May 22, 2011]: Hey! Kak dila? Sure, darling. Look
                forward to meeting you.

                [Defendant, May 28, 2011]: Hi, sweety :). Kak dila? When are
                you girls actually arriving in Miami? What date? Paseba

                [Victim 1, May 29, 2011]: Hi:) I will come with my friend in 31
                of May at 12.05 p.m. ne za chto!:)

                [Defendant, May 29, 2011]:        ;) ;) see you both very soon,
                prikrasni :)

                [Defendant, August 6, 2011]: If i don't get back my phone, keys
                and the money you owe me for the tickets and massage [Victim 2]
                did yesterday, as well as the broken mirror in unit 104. I'm going to
                the police as well as notifying [Company A]. This is not a joke!
                what you did is unacceptable!

                [Defendant, August 14, 2011]: When will you return my keys, and
                phone? Call Jessy to meet up with her to return them. Thank you.
                You also owe me for a least one massage that [Victim 2] did and
                for the broken mirror. Give everything to Jessy.

                [Victim 1, August 22, 2011]: We do not have any money. What do
                you want us to do?




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                [Defendant, August 28, 2011]: Then you should start working
                again? Muslims always forgive and forget. We can move behind
                what happened? but i never got the phone or the fob for the lobby
                door back ? The fob costs $100 dollars, i don't want to have to pay
                for it. It's the landlord's property, not mine. Thank you. Just come
                back to work, business is picking up here now. You don't have to
                go to Cali, don't worry. I have people there now. HARE
                KRSNA!!! Thanks for responding. Salaam A Lakum!!!

                [Defendant, August 30, 2011]: Can you return the fobs, please.
                The other fob that was in unit 203 is missing also? You were the
                only one that had access to 203 and knew where it was? Please,
                return them. Thank you. They are not my property, they are the
                property of the landlords!

                [Defendant, August 31, 2011]: I will come by that gym tomorrow,
                and make a "ruckus" until i get back both of my fobs. I only gave
                you one to use, and now both are gone? I want them both back
                immediately!!!!!!!! Not playing around.

                [Defendant, September 12, 2011]: I heard about everything,
                involving you and [Victim 2] ( and i mean everything). We all
                know (Indu, Jessy, Vicky, Wayne), KRSNA has a way of revealing
                everything in due course of time. That's why it's always best to be
                honest and not live something you are not. It just so happens that
                guy Julio in the Normandy Gym is a good friend of Indu's daughter
                and knows Indu for at least 9 months now, (ha ha) funny hah, the
                one guy that you gals happened to have fun with knows us all? So,
                you shouldn't lie. You both are not "virgins" , at least not anymore.
                I wonder what your father would think if he found out? Just be
                honest, you didn't need to lie to us all . HARE KRSNA!!!

                [Defendant, September 12, 2011]: We all know everything, you
                should've just been honest with us. You see how everything comes
                out? Salaam A Lakum

                [Defendant, September 12, 2011]: We know Julio that you met in
                Normandy gym, he was going out with Indu's daughter. You girls
                should've picked someone else. Karma! HARE KRSNA!!!

         Finally, the defendant had the following exchanges with Victim 2:

                [Defendant, May 28, 2011]: Hi. how are you? Look forward to
                meeting and working with you :). When are you planning on
                arriving in Miami, dear?



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              [Victim 2, May 28, 2011]: Hi!we are fine! And you?kak dela?we
              will come at 31 of may at 12.30 p.m. We are look forward to
              meeting with you too!:)

              [Defendant, May 28, 2011]: Great! ;) . Things are Great! Thanks
              for asking :). But, that's Nyc; when do you arrive in Miami area?
              What day? How many days are you going to stay in Nyc, dear?

              [Victim 2, May 28, 2011]: We will be in NYC in 31 of May,and
              we took tickets to Miami in 31 of May,so we will be in Miami in
              31 of May at 12.30 p.m. See you soon:)

              [Defendant, May 29, 2011]: Ok :), send flight no, and Airline ; so i
              can pick you up.

              [Victim 2, May 29, 2011]: US Airways MIAMI INTL arrival time
              12:05 p.m

              [Defendant, May 29, 2011]: Great! got it :)

              [Defendant, January 1, 2013]: Salaam A Lakum, muslima :). Kak
              dela?

              [Victim 2, January 4, 2013]: aleukum asalam!!!horowo...and you?

              [Defendant, January 6, 2013]: Good good, darling ;). You should
              come back to Miami and visit me. I am single now. Always liked
              you, muslima :). Come back for vacation

              [Victim 2, January 6, 2013]: i will never back to you!!!

              [Defendant, January 6, 2013]: Ha ha ha, just joking. Salaam A
              Lakum, muslima

              [Victim 2, January 7, 2013]: aleukum asalam!how is your work?

              [Defendant, January 8, 2013]: Great! :). Expanding to many cities.
              Having fun ;). What are you doing? How's [Victim 1]?

              [Victim 2, January 9, 2013]: your work is not good....I work,
              teaching dance at several places, and I work in insurance...[Victim
              1] is good, looking for work. how is your hare khrishna?)))

              [Defendant, January 10, 2013]: Everything is good, dear. ALLAH
              says to not critize others! Look at the faults in yourself, first. Try to
              correct those. I heard about your "fun" with that guy Jorge from

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                 the gym. He's a friend of Indu's daughter. Small Beach, Miami
                 Beach. So, you and [Victim 1] lied about being "virgins". You
                 didn't have to lie? Be yourself. Don't try to play a role you are not?
                 Keep dancing, if you enjoy it. HARE KRSNA!!! Salaam A Lakum.

                 [Victim 2, January 10, 2013]: Yes Allah says so...i'm not critized
                 you, but i'm so intrested about what says your God KRSNA?It
                 allows you to do with things?I'M always trying to corect
                 myself......Jorhe is good gyu...i just kiss with him no sex never...i'm
                 virgin...I need not tell lies',,,I am pure before God Unless otherwise
                 of what I was doing in Miami is killing me still every day, and
                 especially when I go to the mosque I was there crying...Hare Krsna

                 [Defendant, January 10, 2013]: Then, why were you and [Victim
                 1] going to different clubs 5 times a week in Miami? Partying with
                 different men? What we were doing was business, dear. To earn
                 income! There is a big difference. What you were doing, was
                 purely for your own sense gratification. Not work related. Btw,
                 Jorge said you and him had sex several times. Not just kissing,
                 dear. It's all good. I'm just saying; don't lie.

                 [Victim 2, January 10, 2013]: badly, as he could speak at all ... we
                 just kissed him and walked once to the club and saw only gym I
                 dont have sex with Jorge,but he wanted i know I do not have more
                 sex because it is impossible to us b i'm muslim don't foget, he
                 telling lie like a teenager ... about the clubs ... so we used to go to
                 clubs because in the first in our country such was not in the
                 Secondly, we went to do this dirty job I hated this job...so we went
                 with different guys because when you go to the same they want sex,
                 they do not understand us and we do not believe that a virgin,,,

                 [Defendant, January 12, 2013]: I heard about your "fun" with that
                 guy Jorge from the gym. He's a friend of Indu's daughter. Small
                 Beach, Miami Beach.he said

                 [Victim 2, January 12, 2013]: its not true....

          In addition to these Facebook exchanges, the government recorded multiple telephone

   calls between the defendant and several others, including Victim 1. The government intends to

   admit these Facebook messages and recorded calls (along with their transcripts) into evidence

   during the defendant’s upcoming trial.




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              2.       Introduction of the Facebook Messages and Recorded Calls are Proper
                       because They Consist Solely of the Defendant’s Statements and Statements
                       that do not Qualify as Hearsay

              A statement is not “hearsay” if it is offered against a party and is the party’s own

   statement. Fed. R. Evid. 801(d)(2)(A). The government need only show that the defendant had

   made the statements by a preponderance of the evidence in order for the statements to be

   admissible under Fed. R. Evid. 801(d)(2)(A). See, e.g., United States v. Lang, 364 F.3d 1210,

   1222 (10th Cir. 2004). In addition, “[i]t is well-settled that statements that are offered for

   context, and not for the truth of the matter asserted, are not hearsay as defined in Rule 801 of the

   Federal Rules of Evidence.” United States v. Macari, 453 F.3d 926, 941 (7th Cir. 2006).

              In this case, the government will link the Facebook messages and recorded calls to the

   defendant via several means, including the fact that the defendant admitted to law enforcement

   that the Facebook account in question belonged to him. See United States v. Barnes, 803 F.3d

   209, 217 (5th Cir. 2015) (finding the defendant’s Facebook messages properly authenticated

   because a witness testified that she had seen the defendant using Facebook, recognized his

   Facebook account, and recognized the defendant’s style of communication). The defendant

   listed his telephone number multiple times in his Facebook account, and this was the number

   used by the defendant during multiple recorded telephone calls. The defendant also listed this

   same telephone number in numerous advertisements seeking sex workers, 1 and he also provided

   this number as part of his participation as a host employer under the SWT program. Finally, the

   content of the recorded calls and Facebook messages, which reveal familiarity with facts and

   circumstances that would have been known only to the defendant, tend strongly to show that the

   Facebook messages and statements made during the recorded calls were uttered by the


   1
       The Government intends to offer several of these advertisements into evidence at trial as well.


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   defendant. See United States v. Browne, __ F.3d __, 2016 WL 4473226 (3d Cir. Aug. 25, 2016)

   (finding the defendant’s Facebook messages properly authenticated, in part, because the victims’

   trial testimony was consistent with the content contained in the Facebook chats). As such, the

   statements attributed to the defendant in the Facebook messages and recorded calls are properly

   admissible under Fed. R. Evid. 801(d)(2)(A).         Id. (observing that the defendant’s Facebook

   messages “were properly admitted as admissions by a party opponent under Rule 801(d)(2)(A)”).

          The statements of Witness 1, Victim 1, Victim 2, and the other individuals on the

   recorded calls are admissible in order to provide the context necessary to make the defendant’s

   statements in the course of the message exchanges and conversations intelligible. If the jury is

   not permitted to consider the other side of a message exchange or conversation, the defendant’s

   responses and comments in these exchanges would be nonsensical and meaningless. Thus, the

   other statements and messages are necessary, not to prove the truth of the matter asserted, but to

   provide proper context for the defendant’s admissions.        See id (recognizing that the other

   statements made by the victims to the defendant via Facebook were not hearsay because the put

   the defendant’s statements “into perspective and ma[d]e them intelligible to the jury and

   recognizable as admissions”) (citations omitted); United States v. Bermea-Boone, 563 F.3d 621,

   626 (7th Cir. 2009) (finding that the admission of recorded calls “were not offered for their truth,

   but to provide context for Bermea-Boone’s admissions concerning the drug conspiracy and to

   make those admissions intelligible for the jury”); United States v. Schalk, 515 F.3d 768, 775 (7th

   Cir. 2008) (recognizing government informant’s statements on recorded call with defendant

   admissible because it provides context for the defendant’s admissions); United States v. Dupre,

   462 F.3d 131, 137 (2d Cir. 2006) (finding that emails were not offered to prove the truth of the

   matters asserted, but rather they provided context for the defendants’ messages sent in response);



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   Macari, 453 F.3d at 941 (observing that without the other statements, the defendant’s admissions

   “would not have made any sense”).

           3.       Some Portions of the Facebook Messages and Recorded Calls are Also
                    Admissible under Fed. R. Evid. 803(3)

           Fed. R. Evid. 803(3) provides that a statement is not hearsay if the statement is one “of

   the declarant’s then-existing state of mind (such as motive, intent, or plan) or emotional, sensory,

   or physical condition (such as mental feeling, pain, or bodily health), but not including a

   statement of memory or belief to prove the fact remembered or believed unless it relates to the

   validity or terms of the declarant’s will.” “Offering evidence under the state of mind exception

   to the hearsay rule is different than offering it for a non-hearsay purpose.” Smith v. Duncan, 411

   F.3d 340, 346 n.4 (2d Cir. 2005) (emphasis in original). “The exception to the hearsay rule is

   invoked when the statement is offered for the truth of the matter asserted and shows the

   declarant’s state of mind.”          Id. (citation omitted and emphasis in original).                   “A key

   circumstantial guarantee of trustworthiness in respect to Rule 803(3) is that it requires that the

   statement be contemporaneous with the declarant’s ‘then existing’ state of mind, emotion,

   sensation, or physical condition.” United States v. Naiden, 424 F.3d 718, 722 (8th Cir. 2005).

   Admissibility under Fed. R. Evid. 803(3) is therefore determined by three factors:

   contemporaneousness, chance for reflection, and relevance. United States v. Ponticelli, 622 F.2d

   985, 991 (9th Cir. 1980).

           Several portions of the defendant’s Facebook exchanges with Witness 1, Victim 1, and

   Victim 2 are admissible as declarations of the declarant’s then-existing state of mind under Fed.

   R. Evid. 803(3). 2 Such portions include the following:


   2
     In addition to the defendants’ Facebook exchanges with Witness 1, Victim 1 and Victim 2, the government intends
   to introduce into evidence other statements made by Victim 1 and Victim 2 to other government witnesses who will


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                •    Witness 1’s Facebook messages on May 5, 2011, that she was
                     working as a SWT coordinator and that she knew of four students
                     who needed work, and who would be happy to work for the
                     defendant;

                •    Witness 1’s Facebook messages on May 9, 2011, asking the
                     defendant for the details of the job offers for the four students,
                     along with her statements that she likes yoga and is looking
                     forward to meeting the defendant in Miami during September;

                •    Witness 1’s Facebook messages on May 19, 2011, to ask if two
                     Asian girls could receive job offers to work for the defendant as
                     receptionists, along with the fact that Victim 1 is a friend of
                     Witness 1 and that Victim 2 is a friend of Victim 1;

                •    Witness 1’s Facebook message on June 2, 2011, to express surprise
                     at finding out that the defendant expected Victim 1 and Victim 2 to
                     perform sensual massages, and confronting the defendant with the
                     fact that he had not told her about the massages beforehand;

                •    Victim 1’s Facebook message on May 21, 2011, that she wants to
                     work for the defendant and will be traveling to Florida soon to do
                     so;

                •    Victim 1’s Facebook message on May 29, 2011, that she will be
                     arriving in Miami, along with her friend, on May 31, 2011;

                •    Victim 1’s Facebook message on August 22, 2011, that she does
                     not have any money and her question to the defendant of what
                     should she do about the fact she has no money;

                •    Victim 2’s Facebook message on May 28, 2011, that she will be
                     arriving in Miami on May 31, 2011 abroad a U.S. Airways flight;

                •    Victim 2’s Facebook message on January 6, 2013, that she would
                     never come back to visit the defendant;

                •    Victim 2’s Facebook message on January 9, 2013, that she works
                     teaching dance at several locations and also works in the insurance
                     industry while the defendant’s work is not good; and



   testify at trial, which statements are admissible pursuant to other provisions of Rules 803 and 804. The government
   respectfully suggests that objections to the admission of those statements, if any, may be addressed at trial, if and
   when the objections are lodged..


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              •   Victim 2’s Facebook message on January 10, 2013, that what she
                  did in Miami is still killing her daily, especially when she goes to
                  the mosque to attend religious services.

          During a recorded call, Victim 1 also confronted the defendant and stated that she did not

   know the job entailed “sexual massage with happy end[ing].” If Victim 1 had known about the

   true nature of the employment beforehand, she would not have come to work for the defendant.

   Victim 1 also stated during the call that the defendant’s job was not good because she is Muslim.

          To begin with, the passages discussing the future travel plans of Witness 1, Victim 1, and

   Victim 2 are admissible under the then-existing state of mind exception because they reflected an

   intent to travel from Kazakhstan to Miami. See United States v. Barraza, 576 F.3d 798, 805 (8th

   Cir. 2009) (finding statements of one’s intention to travel to Mexico admissible under Fed. R.

   Evid. 803(3)); United States v. Natson, 469 F.Supp.2d 1243, 1249 (M.D.Ga. 2006) (admitting

   statements as then existing state of mind and plan since they involved plans for the declarant and

   the defendant to get gas before driving to Columbus); United States v. Smallwood, 299

   F.Supp.2d 578, 585 (E.D.Va. 2004) (admitting statements under Fed. R. Evid. 803(3) to show

   that the victim intended to meet with the defendants on the day of his murder and that he in fact

   did so). This would also apply to Victim 2’s statement that she intended to never come back to

   Miami to visit the defendant. All of these statements reflect the declarants’ statement of mind –

   specifically, the declarant’s contemporaneous intent to travel or not travel in the near future –

   and are admissible in accordance with Fed. R. Evid. 803(3).

          Next, Witness 1’s prospective statements to the defendant regarding the work the

   defendant had for her friends and others are admissible to show a then existing plan. “Hearsay

   statements reflecting a declarant’s intentions or future plans are admissible against the declarant

   to prove subsequent acts under Fed. R. Evid. 803(3).” United States v. Nersesian, 824 F.2d



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   1294, 1325 (2d Cir. 1987) (citations omitted). “More importantly, declarations of intention or

   future plans are admissible against a nondeclarant when they are linked with independent

   evidence that corroborates the declaration.” Id. (citation omitted). In this case, the evidence will

   show that Victim 1 and Victim 2 did travel from Kazakhstan to Miami on May 30, 2011, to work

   for the defendant. Thus, the future plans Witness 1 made with the defendant prior to May 30,

   2011, are admissible under Fed. R. Evid. 803(3) to show a plan that was later put into action.

   See also United States v. MacInnes, 23 F.Supp.3d 536, 542 (E.D. Pa. 2014) (finding statements

   properly admitted under Fed. R. Evid. 803(3) because they showed that the declarant acted in

   accord with a plan). The declarations at issue collectively indicate that Victim 1 and Victim 2,

   along with others, intended to enter the United States during the summer of 2011 to serve as

   receptionists at the defendant’s yoga studio. Since these statements reflected an upcoming future

   intention or plan for the victims to work for the defendant in a clerical capacity later that summer

   in 2011, they are properly admissible under Fed. R. Evid. 803(3).

          Finally, the remaining statements are admissible because they reflect an emotional or

   mental condition at the time the statements were made. Some of the statements reflected a

   current status (i.e., awareness of the contents of the defendant’s website, interest in yoga, lack of

   money, etc.) while others reflect a current state of being (i.e., friendship with Victim 1 and

   between Victim 1 and Victim 2, employment as a travel coordinator, or work teaching dance or

   in the insurance industry). The remaining statements either show an emotional feeling, such as

   shock (i.e., surprise that the defendant expected SWT employees to perform erotic massages) or

   mental anguish (i.e., the pain suffered by Victim 2 as a result of her exploitation by the

   defendant). These statements were all contemporaneously made with the declarants having little

   chance for reflection, mainly because they were uttered in response to the defendant’s



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   statements. See United States v. Partyka, 561 F.2d 118, 125 (8th Cir. 1977) (finding statements

   manifestations of a present state of mind since they were an immediate reaction to a proposal).

   The contemporaneous nature of the statements guarantees their truthworthiness, and

   admissibility pursuant to Fed. R. Evid. 803(3).

          The statements are also highly relevant to several issues in the case. For example,

   Witness 1’s declaration that she viewed the defendant’s website and liked yoga supports the

   inference that she did not know the defendant’s true intent (i.e., that he used a sham yoga studio

   as a front to bring the victims into the United States for work in his prostitution enterprise).

   Witness 1’s declaration of surprise after finding out that the defendant expected Victim 1 and

   Victim 2 to perform sensual massages further supports the inference that she did not know the

   defendant’s true intent. In addition, Witness 1’s declaration that she is friends with Victim 1

   makes it less likely that she intentionally set up her friend to work in the prostitution industry.

   Victim 2’s declaration that she teaches dance and works in the insurance industry makes it less

   likely that she was a professional prostitute looking to enter the United States under fraudulent

   purposes to work in the commercial sex industry. Finally, Victim 1’s statement that she would

   not have worked for the defendant had she known the true nature of the employment and Victim

   2’s statement that what she did in Miami is “killing her” everyday support the inference that

   neither victim wanted to perform sensual massages for the defendant.           Since all of these

   statements were contemporaneously made with little chance for reflection, and are relevant to

   issues in the case, they are admissible under Fed. R. Evid. 803(3).

          4.      Statements Made to a Representative at Company A are also Admissible to
                  Show State of Mind

          On June 7, 2011, Victim 3, Victim 4, and Victim 5 entered the United States, and were

   supposed to work for the defendant, just like Victim 1 and Victim 2. On June 8, 2011, Victim

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   3’s cousin called Company A and told a Company A representative that Victim 3, Victim 4, and

   Victim 5 were currently in Kissimmee, Florida. Victim 3’s cousin stated that Victim 3, Victim 4,

   and Victim 5 did not want to work for Janardana’s Yoga and Wellness as scheduled because

   some workers had already arrived and were told they had to perform massages instead of

   working as receptionists as stated on their job offers. These statements are admissible under Fed.

   R. Evid. 803(3) because they show the declarant’s then-existing state of mind in that it reflects

   Victim 3’s mental feeling of not wanting to work for the defendant, and a future plan to do

   something else other than traveling to Miami to work for the defendant.

          This statement is also admissible for a non-hearsay purpose to show the effect on the

   listener. The Company A representative that fielded this phone call from the relative of Victim 3

   will testify that he called the defendant after receiving this information to determine if his

   workers were indeed performing massages instead of working in a clerical capacity.

   II.    Evidence of the Defendant’s Continuous Operation of a Prostitution Enterprise
          Both Before and After the Dates Contained in Count 4 of the Indictment is
          Admissible to Prove that the Defendant Maintained and Operated an Unlawful
          Business Enterprise

          In the pending indictment, the defendant is charged in a single count, Count 4, with

   violating Title 18, United States Code, Section 1952(a)(3)(A). Specifically, the defendant is

   charged with using a facility of interstate commerce to “promote, manage, establish, carry on,

   and facilitate the promotion, management, establishment, and carrying on of an unlawful

   activity,” and thereafter performing or attempting to perform an act that did “promote, manage,

   establish, carry on, and facilitate the promotion, management, establishment, and carrying on of

   the unlawful activity.” The indictment alleged that the unlawful activity that the defendant

   intended to promote was “a business enterprise involving prostitution in violation of Florida

   Statute § 796.07.”

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          To establish the charged violation of Section 1952(a)(3)(A), the government must prove

   that the defendant intended to promote “a business enterprise involved in prostitution.” See 11th

   Circuit Pattern Jury Instructions, Offense Instruction 71 (2010). Importantly, the term “business

   enterprise” is defined as “a continuous course of conduct or series of transactions to make a

   profit, not a casual, sporadic, or isolated activity.” Id. (emphasis added); United States v.

   Corona, 885 F.3d 766, 771 (11th Cir. 1989). Thus, as to Count 4, the government will be

   required at trial to establish that the defendant’s use of a facility of interstate commerce was

   intended to promote an ongoing, “continuous course of conduct.” Indeed, the government will

   be required to prove that the business enterprise was an ongoing venture before and after the

   dates listed in Count 4. See, e.g., United States v. Bates, 840 F.2d 858, 863 (11th Cir. 1988)

   (reversing conviction under § 1952 where government failed to introduce evidence of “enterprise

   constituting a continuous course of drug trafficking” other than the specific conduct alleged to

   have promoted an unlawful activity); United States v. Corbin, 662 F.2d 1066, 1072 (4th Cir.

   1981) (holding that in order to establish a “business enterprise,” the government should have

   introduced evidence illustrating that before and after the conduct specifically alleged, the

   defendants were engaged in an “ongoing enterprise”); see also United States v. Gallo, 782 F.2d

   1191, 1193-94 (4th Cir. 1986) (holding that extrinsic evidence of other unlawful conduct may be

   introduced for the purpose of proving the existence of the business enterprise).

          To establish that the defendant violated Section 1952(a)(3)(A) as charged in Count 4, the

   government will therefore seek to introduce evidence relating to all aspects of the defendant’s

   ongoing “business enterprise,” including the following enterprise evidence that occurred after

   February 9, 2013:

          •   In a recorded call that occurred in June 2015, the defendant admitted that he still ran a
              prostitution enterprise and booked prostitution appointments for women in California,

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              Colorado, North and South Carolina, as well as Miami. In the same recorded call, the
              defendant admitted to maintaining advertisements to hire women to work for him in
              the commercial sex industry.

          •   Facebook messages exist between the defendant and a woman identified as S.D.
              between November 17 – December 10, 2015. In this Facebook exchange, the
              defendant and S.D. discussed specific sexual acts to be performed with the
              defendant’s prostitution clients.

          •   Text messages between the defendant and multiple females occurred between
              October 2015 – March 2016 where the defendant arranged several prostitution dates
              for the women. The defendant also recruited women and explained via text message
              that escort work in South Florida entailed full-service sexual intercourse. The
              defendant promised other women that they would make at least $2,000 a day if they
              prostituted for him.

          •   At the time of his arrest in May 2016, the defendant possessed a notebook, which
              contained the names of multiple females and entries with their nationality, age,
              height, weight, hair color along with the length of it, breast size, the term “booty,”
              and whether they had transportation or not;

   In addition, the defendant posted multiple advertisements on www.backpage.com, an online

   classified advertisement website commonly used to solicit sexual services prior to the beginning

   date contained in Count 4 of the Indictment. In fact, the defendant posted advertisements on

   Backpage as far back as September 2009. In short, the government will seek to introduce all of

   this evidence in order to establish that the defendant intended to promote a business enterprise

   engaged in prostitution.

          The government again notes that the text messages and Facebook exchanges referenced

   above do not constitute inadmissible “hearsay.” “Hearsay” consists of out-of-court statements

   offered “to prove the truth of the matter asserted.”      Fed. R. Evid. 801(c)(2).     Since the

   government is not offering the statements in the text messages or Facebook exchanges noted

   above for their truth, but merely context for the defendant’s admissions, the statements are not

   considered “hearsay.” See United States v. Brinson, 772 F.3d 1314, 1322 (10th Cir. 2014)

   (noting that statements made to an undercover officer regarding the location, price, and lack of

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   condom for a proposed sex act did not constitute “hearsay” because the statements were not

   offered for their truth); United States v. Monaco, 700 F.2d 577, 582 (10th Cir. 1983) (finding

   testimony describing conversations between officers posing as clients and prostitutes working in

   parlors, such as services the women would provide and the amount to be charged for their

   services, did not constitute hearsay because they were offered only to show that such

   conversations took place).



   III.   The Government Intends to Impeach the Defendant with Previous Federal and
          State Convictions should He Testify at Trial

          1.      Relevant Facts

          On December 10, 1998, the defendant pleaded guilty in the Southern District of Florida

   to making a false statement in the application and use of a passport in violation of 18 U.S.C. §

   1542. See Case No. 98-CR-736-JLK. In order to successfully plead guilty to making a false

   statement in the application and use of a passport, the defendant had to admit to the following

   elements: 1) the defendant made a false statement in an application for a United States passport;

   2) the defendant made the statement intending to get a United States passport for his own use;

   and 3) the defendant acted knowingly and willfully.          See Eleventh Circuit Pattern Jury

   Instructions, Special Instruction No. 60 (2010).

          On May 15, 2008, the defendant pleaded guilty to larceny grand theft in the 3rd degree in

   violation of Fla. Stat. § 812.014. In order to successfully plead guilty to this offense, the

   defendant had to admit to the following elements: 1) the defendant knowingly and unlawfully

   obtained or used or endeavored to obtain or use the property of another; 2) the defendant did so

   with the intent to temporarily or permanently (a) deprive the victim of his or her right to the

   property or any benefit from the property, or (b) appropriate the property of the victim to his or

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   her own use or to the use of any person not entitled to it; and 3) the property was valued at $300

   or more. See Fla. Stat. § 812.014 (2007). The maximum penalty for larceny grand theft in the

   3rd degree is up to five years imprisonment. See Fla. Stat. § 775.082 (2005).

          2.      Fed. R. Evid. 609(b) Allows the Government to Attack the Defendant’s
                  Character for Truthfulness through Use of his 1998 Passport Fraud
                  Conviction

          Fed. R. Evid. 609(b) prohibits the admission of evidence of prior criminal convictions for

   impeachment purposes if the convictions are more than ten years old, unless the court determines

   that the “probative value [of the conviction], supported by specific facts and circumstances,

   substantially outweighs its prejudicial effect.” While there is a presumption against the use of

   prior convictions over ten years old, exceptional circumstances exist in this case to warrant the

   admission of the defendant’s prior 1998 conviction for making a false statement in the

   application and use of a passport should he testify. See United States v. Pritchard, 973 F.2d 905,

   908 (11th Cir. 1992) (noting that “there is a presumption against the use of prior crime

   impeachment evidence over ten years old; such conviction ‘will be admitted very rarely and only

   in exceptional circumstances’”) (citation omitted).

          Several factors are relevant in deciding whether to admit evidence pursuant to Fed. R.

   Evid. 609(b): “(1) [t]he impeachment value of the prior crime; (2) [t]he point in time of the

   conviction and the witness’ subsequent history; (3) [t]he similarity between the past crime and

   the charged crime; (4) [t]he importance of the defendant’s testimony; [and] (5) [t]he centrality of

   the credibility issue.” Pritchard, 973 F.2d at 909 (citing United States v. Sloman, 909 F.2d 176,

   181 (6th Cir. 1990)). “Another important factor to consider is the government’s need for the

   impeaching evidence.” Id. (citing United States v. Cathey, 591 F. 2d 268, 276 (5th Cir. 1979)).




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             The defendant’s 1998 conviction for making a false statement in the application and use

   of a passport is relevant, probative, and not unfairly prejudicial.   First, the prior conviction is

   relevant because the mens rea required for the defendant’s prior conviction of passport fraud is

   similar to the mens rea required for the wire fraud and sex trafficking by fraud counts that he

   currently faces. The defendant’s passport fraud conviction required that he knowingly and

   intentionally made a false statement in an application for a passport. Eleventh Circuit Pattern

   Jury Instructions, Special Instruction No. 60 (2010). The wire fraud counts require the defendant

   to have acted with intent to defraud, and the sex trafficking by fraud counts require the defendant

   to have committed certain acts by means of fraud.            See Eleventh Circuit Pattern Jury

   Instructions, Offense Instruction No. 51; Eleventh Circuit Pattern Jury Instructions, Offense

   Instruction No. 63 (2010). As such, the defendant’s prior conviction for passport fraud is

   relevant since intentionally making a false statement involves a similar mens rea to intending to

   defraud others.     See United States v. Colon, 480 Fed. Appx. 509, 513 (11th Cir. 2012)

   (concluding the district court did not abuse its discretion in allowing the government to admit a

   12-year-old conviction for passing bad checks because the prior conviction involved a similar

   mens rea, intent to defraud, as the bank fraud and conspiracy charges the defendant faced at

   trial).

             Second, the defendant’s prior conviction for passport fraud is extremely probative given

   its nature as a crime of dishonesty. Evidence of a witness’s participation in fraud or making false

   statements is probative of truthfulness. See, e.g., United States v. Sperling, 726 F.2d 69, 74-75

   (2d Cir. 1984) (false credit card applications); United States v. Carlin, 698 F.2d 1133, 1137 (11th

   Cir. 1983) (false license applications); United States v. Reid, 634 F.2d 469, 473-74 (9th Cir.

   1981) (prior false statements). Moreover, “[c]rimes involving dishonesty or false statement are



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   often more probative of the witness’s lack of credibility than even more serious crimes involving

   violence.” Cathey, 591 F.2d at 276. This is true because one who was untruthful on prior

   occasions is more likely to be untruthful in the future, especially when their liberty is at stake.

   And evidence of the defendant’s prior passport fraud conviction is particularly probative here,

   where the defendant is alleged to have made materially false statements in connection with

   efforts to obtain documents authorizing travel to and from the United States – just as in his prior

   federal case.

          Finally, the defendant will not be unfairly prejudiced if impeached by evidence of his

   prior passport fraud conviction.      Here, the defendant faces a maximum penalty of life

   imprisonment, which gives him added incentive to testify falsely.          The credibility of the

   defendant will be crucial, especially since the victims will not testify in this matter as to the

   defendant’s actions. See United States v. Redditt, 381 F.3d 597, 601 (7th Cir. 2004) (permitting

   conviction for stealing electricity to be used for impeachment purposes even though it was more

   than ten years old because the defendant’s credibility was a critical factor given “the complete

   contradiction between the defendant’s testimony and the testimony of the government witness”).

   There is no other impeachment evidence as probative as the defendant’s prior passport fraud

   conviction. Consequently, the defendant’s passport fraud conviction is not cumulative with any

   other impeachment evidence, and the prior conviction would allow the jury to fully assess the

   defendant’s credibility.

          Several other courts have permitted the introduction of convictions that were more than

   ten years old when the probative value substantially outweighed any prejudicial effect. See

   Prtichard, 973 F.2d 905, 909-10 (13-year-old burglary conviction); United States v. Callaway,

   938 F.2d 907, 911-12 (8th Cir. 1991) (19-year-old grand larceny conviction); United States v.



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   Murray, 751 F.2d 1528, 1533 (9th Cir. 1985) (18-year-old conviction for receiving stolen

   property); United States v. Spero, 625 F.2d 779, 780-82 (8th Cir. 1980) (22-year-old grand theft

   conviction); United States v. Brown, 603 F.2d 1022, 1027-29 (1st Cir. 1979) (burglary and petty

   larceny convictions from 15 to 19 years old). This is likely because “[a] crime involving

   dishonesty is more likely to overcome Rule 609(b)’s presumption.” Cathey, 591 F.2d at 276.

          In contrast, the cases finding stale convictions to have been erroneously admitted often

   involved prior convictions involving heinous facts, extreme age, or a lack of any special

   circumstances warranting their admission. See United States v. Beahm, 664 F.2d 414, 417-19

   (4th Cir. 1981) (11-year-old sodomy conviction); United States v. Cavender, 578 F.2d 528, 531-

   34 (4th Cir. 1978) (25-year-old sodomy conviction); United States v. Shapiro, 565 F.2d 479,

   480-82 (7th Cir. 1977) (38-year-old bankruptcy fraud and 24-year-old income tax evasion

   convictions).

          3.       Fed. R. Evid. 609(a) Allows the Government to Attack the Defendant’s
                   Character for Truthfulness through Use of his 2008 Grand Theft Conviction

          Fed. R. Evid. 609(a)(1)(B) provides that a prior conviction “punishable . . . by

   imprisonment for more than one year . . . must be admitted in a criminal case in which the

   witness is a defendant, if the probative value of the evidence substantially outweighs its

   prejudicial effect to that defendant.”     Here, the probative value of the defendant’s 2008

   conviction for larceny grand theft in the 3rd degree substantially outweighs any prejudicial effect.

   As an initial matter, the defendant’s grand theft conviction is probative as to the defendant’s

   honesty and character for truthfulness. See United States v. Levine, 700 F.2d 1176, 1182 (8th

   Cir. 1983) (finding no abuse of discretion for allowing the government to cross-examine the

   defendant about a prior grand larceny conviction if the defendant chose to take the stand in his

   own defense); United States v. Del Toro Soto, 676 F.2d 13, 18 (1st Cir. 1982) (recognizing a

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   “grand larceny conviction could certainly have been introduced under Federal Rule of Evidence

   609(a)(2) on the general question of the defendant’s credibility”); United States v. DiLorenzo,

   429 F.2d 216, 220 (2d Cir. 1970) (noting that a larceny felony conviction is a crime “which

   reflect[s] on honesty and integrity and thereby on credibility”); United States v. Ackridge, 370

   F.Supp. 214, 218 (E.D.Pa. 1973) (observing that larceny “is relevant to the question of

   defendant’s honesty and truth-telling capacity”).

          In addition, the defendant was not a minor when he committed this crime, and the

   conviction is not too remote in time to lose its relevancy. The defendant’s grand theft conviction

   is not similar to any of the currently charged crimes the defendant is facing; therefore, less

   prejudice attaches to this prior conviction. See United States v. Greenidge, 495 F.3d 85, 97 (3d

   Cir. 2007) (noting that the prior conviction was not “sufficiently similar that the jury [would]

   come to the same conclusion with regard to the instant charge based on the introduction of the

   prior conviction”) (internal quotation marks omitted). As previously noted, the defendant’s

   credibility is of the upmost importance in this case since the victims will not be available to rebut

   any account he may offer.

          The Court can also minimize any potential prejudice by instructing the jury that it could

   only consider the prior conviction in regard to the defendant’s credibility, and that it does not

   constitute evidence that the defendant is a bad person or has a propensity to commit crimes. The

   Court can further instruct the jury that the prior conviction cannot serve as evidence that he

   committed the crimes charged in the indictment. See Greenidge, 495 F.3d 97-98. On balance,

   the jury is entitled to hear about the defendant’s prior dishonest conduct should he testify on his

   own behalf, as the probative value of his grand theft conviction substantially outweighs any




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   prejudicial effect. This is especially true since any prejudicial effect can be mitigated with

   appropriate limiting instructions.

          In sum, the government intends to use both the defendant’s 1998 federal conviction for

   making a false statement in the application and use of a passport and the defendant’s 2008 state

   conviction for larceny grand theft in the 3rd degree should he testify in his defense at trial. By

   testifying, the defendant puts his character for truthfulness at issue, and it is proper for the

   government to impeach the defendant with specific instances of prior convictions.               The

   defendant’s prior convictions are probative of his truthfulness and credibility as a witness.

                                            CONCLUSION

          The United States respectfully submits that the statements of various declarants contained

   in recorded calls with the defendant or in Facebook exchanges with the defendant are admissible

   to provide context. Further, some statements are admissible under Fed. R. Evid. 803(3) because

   they show the declarant’s then-existing state of mind. In addition, evidence that the defendant

   operated a business enterprise involving prostitution both before and after the dates contained in

   Count 4 of the Indictment is admissible to show the recurring nature of the defendant’s unlawful




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   enterprise. Finally, the United States respectfully submits that it should be allowed to impeach

   the defendant with his previous federal and state convictions should he testify at trial.


                                                 Respectfully submitted,

                                                 VANITA GUPTA
                                                 DEPUTY ASSISTANT ATTORNEY GENERAL

                                          By:    s/Matthew T. Grady
                                                 Matthew T. Grady
                                                 S.D.Fla Bar Number: A5502172
                                                 Trial Attorney
                                                 DOJ, Civil Rights Division, Criminal Section
                                                 950 Pennsylvania Ave., N.W. (PHB)
                                                 Washington, DC 20530
                                                 Telephone: 202-353-1216
                                                 Facsimile: 202-514-6588
                                                 Matthew.Grady@usdoj.gov


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 7th day of November 2016, the undersigned

   electronically filed the foregoing document with the Clerk of the Court, and served a copy upon

   counsel of record for the defendant, using CM/ECF.



                                                         s/Matthew T. Grady
                                                         Matthew T. Grady
                                                         Trial Attorney




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